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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ARIZONA

Arizona Yagé Assembly; North American
Association of Visionary Churches; Clay
Villanueva; and the Vine of Light Church,                 No. 2:20-cv-2373-ROS
               Plaintiffs,
                                                           DECLARATION OF
        v.                                                  LISA NEWMAN
Merrick B. Garland, Attorney General of the
United States, et al.,
              Defendants.


       Pursuant to 28 U.S.C. § 1746, I, Lisa Newman, declare under penalty of perjury
as follows:
       1.     I am a Trial Attorney at the U.S. Department of Justice, and represent
Federal Agency Defendants in this action.
                                       Exhibits
       2.     Attached as Defendants’ Exhibit A is a true and correct copy of:
DEA’s 2009 Guidance Regarding Petitions for Religious Exemption from the
Controlled Substances Act Pursuant to the Religious Freedom Restoration Act.
       3.     Attached as Defendants’ Exhibit B is a true and correct copy of:
DEA’s 2018 Guidance Regarding Petitions for Religious Exemption from the
Controlled Substances Act Pursuant to the Religious Freedom Restoration Act.
       4.     Attached as Defendants’ Exhibit C is a true and correct copy of:
DEA’s 2020 Guidance Regarding Petitions for Religious Exemption from the
Controlled Substances Act Pursuant to the Religious Freedom Restoration Act.
      5. I declare under penalty of perjury that the foregoing is true and correct.
Executed this 10th day of August 2021.


                                                          /s/ Lisa Newman
                                                          Lisa Newman
